          0:09-cv-01591-ASB            Date Filed 06/17/09         Entry Number 1         Page 1 of 4




                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: ASBESTOS PRODUCTS LIABILITY                                      :            Civil Action No. MDL 875
LITIGATION (NO. VI)                                                     :
___________________________________________________                     :
                                                                        :
This Document Relates to:                                               :
                                                                        :
Harold Bryant Alewine, Jr. and                                          :
Deborah T. Alewine, wife,                                               :           District of South Carolina,
                                                                        :
                                                                        :           Civil Action No.___________
                                                                                                    0:09-1591
                                                                        :
                           Plaintiffs,                                  :
                                                                        :                 COMPLAINT
                                vs.                                     :
                                                                        :
A.W. Chesterton Company;                                                :
Cleaver-Brooks, Inc., a Division of Aqua-Chem, Inc.;                    :
Borg-Warner Morse TEC, Inc.;                                            :
CertainTeed Corporation;                                                :
Fluor Daniel, Inc.;                                                     :
Fluor Daniel Services Corporation;                                      :
General Refractories Company;
                                                                        :
Georgia Pacific Corporation;
National Service Industries, Inc.;                                      :
Rapid-American Corporation                                              :
    (successor by merger to Glen Alden Corporation,                     :
    Briggs Manufacturing Company, Philip Carey                          :
    Corporation and Philip Carey Manufacturing                          :
    Company);                                                           :
Union Carbide Corporation;                                              :
Viacom, Inc.                                                            :
    (successor by merger to CBS Corporation f/k/a                       :
    Westinghouse Electric Corporation),

                        Defendants,
________________________________________________


          Plaintiffs hereby adopt and incorporate Plaintiffs' Master Long Form Complaint in Re: Asbestos

  Litigation in the United States District Court for the Eastern District of Pennsylvania, filed as Miscellaneous

  No. 86-0457. Pursuant to the October 8, 2008, Order of Honorable Eduardo C. Robreno, the

  following short-form Complaint is utilized in this asbestos action:
        0:09-cv-01591-ASB             Date Filed 06/17/09           Entry Number 1           Page 2 of 4




        1.        Harold Bryant Alewine, Jr., The Injured Plaintiff (“plaintiff-worker”) and Deborah T.

Alewine, (“plaintiff-worker’s spouse”). Plaintiff ‘s Address, Social Security Number, and Date of Birth

information is available upon request.

        2.        The Court has jurisdiction of this matter pursuant to the Multidistrict Litigation Order dated

July 29, 1991, Civil Action No. MDL 875. Moreover, the Plaintiffs are citizens of the State of South

Carolina and no defendant is a citizen or has a principal place of business in the State of South Carolina.

Further, the amount in controversy, exclusive of interest and costs, exceeds $100,000.00.

        3.        The Defendants are those companies listed in the caption.

        4.        Plaintiffs hereby incorporate by reference the following counts from the Master Long-Form

Complaint: Counts I, II, III, IV and V.

        5.        Plaintiff-worker's asbestos employment history, including, to the extent possible at this time,

the asbestos products to which deceased plaintiff-worker was exposed is attached hereto as Schedule I.

        6.        Plaintiff-worker was diagnosed with asbestosis by Jill A. Ohar, M. D. on November 29,
                  2006.

        7.        Plaintiffs certify that they have not been a party to any related third-party asbestos litigation.

        8.        Plaintiffs hereby demand a trial by jury on all issues of fact.



                                                     Respectfully submitted,

                                                     WALLACE AND GRAHAM, P.A.

                                                     By:      s/Mona Lisa Wallace
                                                              S.C. Bar No.: 07216
                                                              Attorney for Plaintiff
                                                              WALLACE & GRAHAM, P.A.
                                                              525 North Main Street
                                                              Salisbury, North Carolina 28144
                                                              Tel. No. (704) 633-5244
                                                              Fax: (704) 633-9434
                                                              E-Mail: mwallace@wallacegraham.com




Date:   6/17/09
       0:09-cv-01591-ASB         Date Filed 06/17/09       Entry Number 1      Page 3 of 4




                                 HAROLD BRYANT ALWINE, JR.
                                           SCHEDULE I
                                Plaintiff-Worker Employment History
                               Asbestos Exposure Worksite Information



OCCUPATION:

Quality Control Inspector
Land Surveying
Pipe Fitter’s Helper
Student & Summer Worker

EMPLOYER/WORKSITE:                                                      APPROXIMATE DATES:

Duke Energy – Catawba; McGuire; Oconee                                       1976 – Present
Huck & Sons – Rock Hill, SC                                                  6/76 – 9/76
Quality Piping & Fabricating @ Hoechst Celanese-Rock Hill, SC                1973 & 1975
York Technical College & USC                                                 1973 - 1974


RELATED ASBESTOS LITIGATION:

Workers Compensation Claim – Duke Energy – Pending

SMOKING HISTORY:

.5 ppd. 1972 - 1980

PRODUCTS CONTAINING ASBESTOS:

Raw Asbestos Fiber, Pipe Covering, Block, Cements, Gaskets, Refractory Materials, Boilers, Joint
Compounds, Wall Board, and other asbestos containing materials.

DEPENDENTS:

Deborah T. Alewine, wife
        0:09-cv-01591-ASB            Date Filed 06/17/09   Entry Number 1        Page 4 of 4




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                            DEFENDANTS LIST




Cleaver-Brooks, Inc., a Division of Aqua-Chem, Inc.           Georgia Pacific Corporation
7800 North 113th Street                                       CT Corporation System
Milwaukee, WI 53224-3136                                      75 Beattie Place
                                                              Greenville, SC 29601
Borg-Warner Morse TEC, Inc.
3850 Hamlin Road                                              National Service Industries, Inc.
Auburn Hills, MI 48326                                        Corporation Service Company
                                                              327 Hillsborough Street
CertainTeed Corporation                                       Raleigh, NC 27603
CT Corporation System
225 Hillsborough Street                                       Rapid-American Corporation
Raleigh, NC 27603                                             Corporation Service Company
                                                              2711 Centerville Road, Ste. 400
A.W. Chesterton Company                                       Wilmington, DE 19808-1645
PO Box 4004
Woburn, WA 01888-4004                                         Union Carbide Corporation.
                                                              CT Corporation System
Fluor Daniel, Inc.                                            225 Hillsborough Street
Corporation Service Company                                   Raleigh, NC 27603
327 Hillsborough Street
Raleigh, NC 27603                                             Viacom, Inc.
                                                              Corporation Service Company
Fluor Daniel Services Corporation                             2711 Centerville Road, Ste. 400
Corporation Service Company                                   Wilmington, DE 19808-1645
327 Hillsborough Street
Raleigh, NC 27603

General Refractories Company
225 City Avenue, Suite 114
Bala Cynwyd, PA 19004
